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                        IN THE UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA


UNITED STATES                                     *


vs.                                               *   Case No.: 22-15-APM


THOMAS E. CALDWELL                                *
         *      *      *       *       *      *       *       *      *       *       *
                    UNOPPOSED MOTION TO CONTINUE SENTENCING
         COMES NOW, the Defendant, Thomas Caldwell, by and through counsel, and

respectfully requests that this Honorable Court briefly continue the sentencing date in this matter,

which was recently reset for October 22, 2024. Unfortunately, undersigned counsel now has a

significant conflict in his trial schedule on the current sentencing date, which resulted from a

judicial scheduling error in a felony state court matter in Maryland. Undersigned counsel has

consulted with Government counsel, who has no objection to the instant request. The parties are

jointly available on the following dates in November: November 4, 5, 6, 12, 14, 15, 18, 19, 20,

and 21. The parties are also available in December on the following dates: December 3, 4, 5, 6,

10, 11, 12, 17, 18, and 19.

      WHEREFORE, the Defendant respectfully requests that the Court continue sentencing in this

matter to one of the proposed dates.

                                                      Respectfully submitted,
                                                      ________/s/__________________
                                                      David W. Fischer, Esq.
                                                      Federal Bar No. 023787
                                                      Law Offices of Fischer & Putzi, P.A.
                                                      7310 Ritchie Highway, #1007
                                                      Glen Burnie, MD 21061
                                                      (410) 787-0826


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                             CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing Unopposed Motion to Continue
Sentencing was filed electronically through ECF today, July 30, 2024, with service provided to
counsel of record listed below.


                                                   _______/s/__________________
                                                   David W. Fischer, Esq.



Government counsel electronically served:
                                                   Kathryn L. Rakoczy, AUSA
                                                   Alexandra Hughes, AUSA




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